                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE


    SARAH E. RICHARDS, individually and on                   Case No.
    behalf of all others similarly situated,

                                    Plaintiff,               CLASS ACTION COMPLAINT
           v.

    HCA HEALTHCARE, INC.,                                    JURY TRIAL DEMANDED
                                    Defendant.

            Plaintiff Sarah E. Richards (“Plaintiff”) brings this Class Action Complaint, individually

    on behalf of herself and on behalf of all others similarly situated (the “Class Members”), against

    Defendant HCA Healthcare, Inc. (“HCA” or “Defendant”) alleging as follows, based upon

    information and belief, investigation of counsel, and personal knowledge of Plaintiff.

                                         NATURE OF CASE

     1.   This class action arises out of the recent targeted cyberattack and data breach where

    unauthorized third-party criminals retrieved and exfiltrated personal data from HCA’s systems

    that resulted in unauthorized access to the highly-sensitive data 1 of Plaintiff, and, according to

    Defendant, at least 11 million Class Members 2 (“Data Breach”). 3 The data exposed is made up of

    approximately 27 million rows of patient information, and includes patients’ personal information




1
   HCA Healthcare Reports Data Security Incident,” https://hcahealthcare.com/about/privacy-
update.dot (last viewed September 11, 2023).
2
  HCA Healthcare said the personal data of about 11 million patients in 20 states may have been
stolen in a data breach. Samples of the data, including addresses, phone numbers, emails and birth
dates, were posted to an online forum popular with cybercrooks by a hacker trying to sell them.
The hacker purportedly claimed to have 27.7 million records. See
https://fortune.com/2023/07/12/medical-giant-hca-healthcare-personal-data-11-million-patients-20-
states-stolen-data-breach/ (last viewed September 15, 2023).
3
  Id.


      Case 3:23-cv-00998         Document 1        1 09/20/23
                                                  Filed               Page 1 of 54 PageID #: 1
    and certain visit records. 4

      2.   As presented on its website, HCA is “one of the nation leading providers of healthcare

    services, HCA Healthcare is comprised of 182 hospitals and 2,300+ sites of care in 20 states and

    the United Kingdom. In addition to hospitals, sites of care include surgier centers, freestanding

    ERs, urgent care centers, diagnostic and imaging centers, walk-in clinics and physician clinics.” 5

      3.   Founded in 1968, HCA boasts that “[m]any things set HCA Healthcare apart from other

    healthcare organizations; however at our core, our greatest strength is our people. Every day,

    more than 290,000 colleagues go to work with a collective focus: our patients.” HCA goes on to

    state, that “[A]s a learning health system, HCA Healthcare analyzes data from more than 37

    million patient encounters each year. This data helps develop technologies and best practices that

    improve patient care.” 6 (Emphasis added.)

      4.   Despite its vast experience as a healthcare provider, HCA did not protect the personally

    identifying information (“PII”) and the protected health information (“PHI”) of their patients—

    the Class Members. 7

      5.   Even if stolen PII or PHI does not include financial or credit card payment account

    information, that does not mean there has been no harm to the victims of the breach, or that the

    breach does not cause a substantial risk of identity theft. Freshly stolen information can be used

    with success against victims in specifically targeted efforts to commit identity theft known as


4
  See 2023 HCA Website, Substitute Notice,
https://hcahealthcare.com/util/documents/2023/SubstituteNotice.pdf (last viewed September 17,
2023).
5
  Id. 2023 HCA Website, https://hcahealthcare.com/about/ (last viewed September 17, 2023).
6
  Id.
7
  PII and PHI are referred to jointly and collectively throughout this Complaint as “Private
Information” and contains information such as names, physical addresses, phone numbers, dates
of birth, health insurance account information, Social Security numbers, provider taxpayer
identification numbers, and clinical information (e.g., medical history, diagnoses, treatment,
dates of service, and provider names).


      Case 3:23-cv-00998           Document 1      2 09/20/23
                                                  Filed               Page 2 of 54 PageID #: 2
social engineering or spear phishing. In these forms of attack, the criminal uses the previously

obtained PII and PHI about the individual, such as name, address, email address, and affiliations,

to gain trust and increase the likelihood that a victim will be deceived into providing the criminal

with additional information.

  6.      Based on the value of its patients’ PII and PHI to cybercriminals, HCA knew or should

have known the importance of safeguarding the PII and PHI entrusted to it and of the foreseeable

consequences if its data security systems were breached. HCA failed, however, to take adequate

cyber security measures to prevent the Data Breach from occurring.

  7.      Defendant maintained Class Members’ Private Information in a negligent and/or reckless

manner. In particular, the Private Information was maintained on Defendant’s computer system

and network in a condition vulnerable to cyberattacks. Upon information and belief, the

mechanism of the cyberattack and potential for improper disclosure of Plaintiff’s and Class

Members’ Private Information was a known risk to Defendant, and as such Defendant was on

notice that failing to take steps necessary to secure Private Information from those risks left that

Private Information in a vulnerable condition.

  8.      Armed with the Private Information accessed in the Data Breach, data thieves can commit

a variety of crimes including opening new financial accounts and taking out loans in Class

Members’ names, using Class Members’ names to obtain medical services, using Class Members’

Private Information to target other phishing and hacking intrusions based on their individual

health needs, using Class Members’ information to obtain government benefits, filing fraudulent

tax returns using Class Members’ information, and giving false information to police during an

arrest.




   Case 3:23-cv-00998          Document 1       3 09/20/23
                                               Filed               Page 3 of 54 PageID #: 3
     9.   The data exposed in the Data Breach has already been made available for sale by the

    hacker, who posted a sample of the stolen data online on July 5, 2023. 8

    10.   As a result of the Data Breach and exposure of their PII and PHI online, Plaintiff and Class

    Members face a substantial risk of imminent and certainly impending harm. Plaintiff and Class

    Members have and will continue to suffer injuries associated with this risk, including but not

    limited to a loss of time, mitigation expenses, and anxiety over the misuse of their Private

    Information.

    11.   Even those Class Members who have yet to experience identity theft have to spend time

    responding to the Data Breach and are at an immediate and heightened risk of all manners of

    identity theft as a direct and proximate result of the Data Breach. Plaintiff and Class Members

    have incurred, and will continue to incur, damages in the form of, among other things, identity

    theft, attempted identity theft, lost time and expenses mitigating harms, increased risk of harm,

    damaged credit, diminished value of Private Information, loss of privacy, and/or additional

    damages as described below.

    12.   Accordingly, Plaintiff brings this action against Defendant seeking redress for their

    unlawful conduct and asserting claims for: (i) negligence; (ii) breach of express contract; (iii)

    breach of implied contract; (iv) unjust enrichment; (v) bailment; and (vi) breach of fiduciary duty.

    Through these claims, Plaintiff seeks damages in an amount to be proven at trial, as well as

    injunctive and other equitable relief, including improvements to Defendant’s data security

    systems, future annual audits, and adequate credit monitoring services funded by Defendant.




8
 See https://fortune.com/2023/07/12/medical-giant-hca-healthcare-personal-data-11-million-
patients-20-states-stolen-data-breach/ (last viewed September 17, 2023).


      Case 3:23-cv-00998         Document 1         4 09/20/23
                                                   Filed               Page 4 of 54 PageID #: 4
                                         THE PARTIES

13.   Plaintiff Sarah E. Richards is a natural person, resident, and a citizen of Denton County, in

the State of Texas.

14.   Plaintiff obtained healthcare from HCA through Care Now Urgent Care, located at 1017

W. Hebron Parkway, Carrolton, Texas, 75010, several times over the last several years. Plaintiff’s

Private Information was stored with HCA as a part of its providing healthcare services at this

location.

15.   To obtain healthcare services from Defendant, Plaintiff provided Defendant with highly-

sensitive Private Information—including financial and health information—which was then

stored on Defendant’s systems.

16.   Plaintiff’s information was among the data accessed in the Data Breach. Plaintiff received

written notice from Defendant by a letter dated August 14, 2023, sent by First Class Mail, which

prompted her by hyperlink to visit a website informing Plaintiff of the HCA Healthcare facilities

that may have been affected by the data breach and providing her with a toll-free number where

she could call for more information about the Data Breach (“Notice”).

17.   Defendant obtained and continues to maintain the Private Information of Plaintiff and owed

her a legal duty and obligation to protect her Private Information from unauthorized access and

disclosure. Plaintiff’s Private Information was compromised and disclosed because of

Defendant’s inadequate data security, which resulted in the Data Breach.

18.   Defendant’s Notice explained the importance of protecting Private Information, and steps

that Plaintiff should take to ensure the safety of her Private Information as a result of the Data

Breach (Notice, ¶ What You Can Do.) Accordingly, Plaintiff spent time monitoring her credit and

accounts, researching identity theft and protection options, and researched additional steps that




  Case 3:23-cv-00998         Document 1        5 09/20/23
                                              Filed               Page 5 of 54 PageID #: 5
she should take to protect herself as a result of Defendant’s wrongdoing.

19.   As a result of the Data Breach, Plaintiff has experienced increased concerns, anxiety and

emotional distress over the loss of privacy she experienced because of the Data Breach.

20.   Further, Plaintiff has experienced anxiety and emotional distress given the increased

likelihood of harm she has been exposed to because of Defendant’s wrongdoing. Plaintiff has

suffered imminent and impending injury arising from the substantially-increased likelihood of

fraud, identity theft, and misuse of her Private Information being compromised and placed in the

hands of third-party criminals.

21.   Importantly, criminals steal Private Information for a reason: to misuse it later. Plaintiff’s

Private Information was targeted for the purpose of committing fraud. Accordingly, Plaintiff has

an ongoing interest in ensuring that her information is not used for nefarious purposes.

22.   Further, Plaintiff has an ongoing interest in ensuring that her Private Information is

protected and safeguarded from future breaches.

23.   Defendant HCA Healthcare, Inc. is a Delaware nonprofit corporation with its principal

place of business at 1 Park Plaza, in Nashville, Tennessee.

                                  JURISDICTION AND VENUE

24.   This Court has original jurisdiction over this action under the Class Action Fairness Act,

28 U.S.C. § 1332(d)(2) because at least one member of the putative Class, as defined below, is a

citizen of a different state than Defendant, there are more than 100 putative class members, and

the amount in controversy exceeds $5 million exclusive of interest and costs.

25.   This Court has general personal jurisdiction over Defendant because Defendant maintains

its principal place of business in the State of Tennessee and so regularly conducts business in the

State of Tennessee that the Defendant is “at home” in this District.




  Case 3:23-cv-00998         Document 1        6 09/20/23
                                              Filed               Page 6 of 54 PageID #: 6
    26.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendant’s

    principal place of business is in this District and a substantial part of the events, acts, and

    omissions giving rise to Plaintiff’s claims occurred in this District.

                                            BACKGROUND

    27.   HCA is one of the largest healthcare providers in the United States, operating

    approximately 182 hospitals and more than 2,300 sites of care, including surgery centers,

    freestanding ERs, urgent care centers, and physician clinics located in 20 U.S. states and in the

    United Kingdom. 9

    28.   In addition to hospitals, HCA operates “sites of care include surgery centers, freestanding

    ERs, urgent care centers, diagnostic and imaging centers, walk-in clinics and physician clinics.” 10

    29.   Originally formed in 1968 as Hospital Corporation of America, HCA has gone through

    several mergers, expansions, and least two IPOs, the latest of which raised approximately $3.79

    billion which was, at that time, the largest private-equity backed IPO in U.S. history. 11

    30.   HCA states in bold and large font on its website: “At HCA Healthcare, we are driven by a

    single mission: Above all else, we are committed to the care and improvement of human life.” 12

    31.   HCA puts patient data right at the forefront of its pitch, acknowledging that it “analyzes

    data from more than 37 million patient encounters each year.” 13



9
  See HCA Healthcare website, Substitute Notice Alert,
https://hcahealthcare.com/util/documents/2023/SubstituteNotice.pdf (last viewed September 17,
2023).
10
   Id.
11
   See Clare Baldwin and Alina Selyukh, “HCA IPO prices at $30, sells more shares: sources,”
available at https://www.reuters.com/article/us-hca-idUSTRE7280NV20110309 (last viewed
September 17, 2023).
12
   See HCA Healthcare website, “Who We Are” https://hcahealthcare.com/about/our-mission-
and-values.dot (last viewed September 17, 2023) and “Who We Are – Our Mission and Values”
(last viewed September 17, 2023).
13
   See id., “Who We Are” https://hcahealthcare.com/about/ (last viewed September 17, 2023).


      Case 3:23-cv-00998          Document 1         7 09/20/23
                                                    Filed               Page 7 of 54 PageID #: 7
 32.    Placing its collaborative and noble purposes front-and-center, HCA notes that it “provided

 charity care, uninsured discounts and other uncompensated care at an estimated cost of $3.3 billion

 in 2021.” 14

 33.    HCA’s focus on wellbeing and collaboration places a great deal of emphasis on

 guaranteeing that it knows how to best care for its patients; however, in spite of these promises,

 HCA failed to take sufficient steps to guarantee the privacy and security of Private Information.

 34.    To obtain healthcare services, patients, like Plaintiff and Class Members, must provide

 their doctors, medical professionals, and administrators working for Defendant directly with

 highly sensitive Private Information. As part of their business, Defendant then compiles, stores,

 and maintains the Private Information they receive from patients.

 35.    Because of the highly sensitive and personal nature of the information Defendant acquired

 and stored with respect to patients and other individuals, Defendant, upon information and belief,

 promised to (among other things): keep PHI private; comply with health care industry standards

 related to data security and Private Information, including HIPAA; inform consumers of their

 legal duties and comply with all federal and state laws protecting consumer Private Information;

 only use and release Private Information for reasons that relate to medical care and treatment; and

 provide adequate notice to individuals if their Private Information is disclosed without

 authorization.

 36.    As a HIPAA-covered business entity, Defendant is required to implement adequate

 safeguards to prevent unauthorized use or disclosure of Private Information, including by

 implementing requirements of the HIPAA Security Rule and to report any unauthorized use or

 disclosure of Private Information, including incidents that constitute breaches of unsecured PHI


14
  Id., “Patients” https://hcahealthcareshowsup.com/home/patients.dot (last viewed September 17,
2023).


     Case 3:23-cv-00998       Document 1        8 09/20/23
                                               Filed               Page 8 of 54 PageID #: 8
 as in the case of the Data Breach complained of herein.

 37.    However, Defendant did not maintain adequate security to protect its systems from

 infiltration by cybercriminals.

 38.    By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class Members’

 Private Information, Defendant assumed legal and equitable duties and knew or should have

 known it was responsible for protecting Plaintiff’s and Class Members’ Private Information from

 unauthorized disclosure.

 39.    Defendant was in the best position to safeguard the most sensitive information it obtained

 from Plaintiff and Class Members. Its unique position enabled it to collect some of the most

 sensitive information on Plaintiff and Class Members; accordingly, Defendant had a special

 relationship with Plaintiff and Class Members such that they should have safeguarded that data.

 Defendant’s website acknowledges that it, and the entities under the common ownership or

 control of the Defendant, are covered under the Health Insurance Portability and Accountability

 Act of 1996, as amended, and its implementing regulations (“HIPAA”), and HIPAA privacy

 rules. 15 Defendant points to the “Notice of Privacy Practices, which can be accessed at the bottom

 of the facility website” for how HCA treats information protected by HIPAA, but does not provide

 such a disclosure on its own website. 16

 40.    Despite this, as part of its Privacy Policy, HCA states that “We are committed to the care

 and improvement of human life. Part of that commitment includes protecting your Personal


15
   See HCA Healthcare website, Legal, Privacy Policy, (Updated as of July 1, 2023)
https://hcahealthcareshowsup.com/legal/index.dot#privacy-policy (last viewed on September 17,
2023) (“This Privacy Policy does not apply to information that would be considered
“Protected Health Information” under the Health Insurance Portability and Accountability Act
of 1996 (HIPAA”). HCA HealthCare’s’ use and disclosure of Protected Health Information is set
forth in the HCA Healthcare Notice of Privacy Practices, which can be accessed at the bottom
of the facility website.” (emphasis in original)).
16
   Id.


     Case 3:23-cv-00998       Document 1        9 09/20/23
                                               Filed               Page 9 of 54 PageID #: 9
 Information (defined below). We maintain information confidentiality and comply with applicable

 regulatory requirements.” 17

 41.     These data security and privacy promises were not kept; Defendant experienced a massive

 data breach, and have not even provided information about how long the data breach existed

 before it was detected, much less an accurate picture of how many patients were implicated in the

 data breach.

 42.     The HCA Healthcare Data Breach is one of many in a long string of healthcare data breaches

 and, based upon information that is publicly available, should have been entirely preventable.

 43.     HCA’s barebones notice informed victims of the Data Breach that a hacker accessed and

 stole files from HCA’s systems, and posted samples of that information on the internet on July 5,

 2023. 18

 44.     HCA has offered little explanation of how patients’ information was exposed in the Data

 Breach, stating only that hackers gained access through what appears to be “a theft from an

 external storage location” that was “exclusively used to automate the formatting of email

 messages.” 19

 45.     According to HCA, extensive Private Information was exfiltrated during this Data Breach,

 including patients’ names; cities, states, and zip codes of residence; email addresses; telephone

 numbers; date of births; genders; patient service date and location; and next appointment date.” 20

 46.     HCA claims to have “reported this event to law enforcement and retained third-party




17
   Id.
18
   See HCA Healthcare website, Substitute Notice Alert,
https://hcahealthcare.com/util/documents/2023/SubstituteNotice.pdf (last viewed September 17,
2023).
19
   Id.
20
   Id.


     Case 3:23-cv-00998         Document 1        10 09/20/23
                                               Filed               Page 10 of 54 PageID #: 10
 forensic and threat intelligence advisors.” 21 HCA also stated that it “has various securities

 strategies, system, and protocols already in place, which are being reviewed to identify any

 enhancement opportunities.” 22

 47.       Because hackers have already infiltrated Defendant’s systems, it would be easy for them

 to continue exploiting Defendant’s systems until actual remedial measures are finalized.

                            HCA Is Subject to HIPAA

 48.       Defendant is a HIPAA covered entity that provides services to patients and healthcare and

 medical service providers. As a regular and necessary part of its business, Defendant collects the

 highly sensitive Private Information of its own patients and its clients’ patients.

 49.       As a HIPAA covered entity, Defendant is required under federal and state law to maintain

 the strictest confidentiality of the patient’s Private Information they acquire, receive, and collect,

 and Defendant are further required to maintain sufficient safeguards to protect that Private

 Information from being accessed by unauthorized third parties.

 50.       As a HIPAA covered entity, Defendant is required to implement adequate safeguards to

 prevent unauthorized use or disclosure of Private Information, including by implementing

 requirements of the HIPAA Security Rule and to report any unauthorized use or disclosure of

 Private Information. This includes incidents that constitute breaches of unsecured PHI as in the

 case of the Data Breach complained of herein.

 51.       Defendant is in the business of providing a range of healthcare services to patients – which

 necessarily includes storing and maintaining electronic health records. Defendant would be

 unable to engage in its regular business activities without collecting and aggregating Private

 Information that it knows and understands to be sensitive and confidential.

21
     Id.
22
     Id.


     Case 3:23-cv-00998         Document 1          11 09/20/23
                                                 Filed               Page 11 of 54 PageID #: 11
52.   By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class Members’

Private Information, Defendant assumed legal and equitable duties and knew or should have

known that it was responsible for protecting Plaintiff’s and Class Members’ Private Information

from unauthorized disclosure.

53.   Plaintiff and Class Members are or were patients whose medical records and Private

Information was maintained by Defendant and/or its affiliate hospitals, care sites, and other medical

providers, who received health-related or other services from Defendant, and/or individuals who

directly or indirectly entrusted Defendant with their Private Information.

54.   Plaintiff and the Class Members relied on Defendant to implement and follow adequate

data security policies and protocols, to keep their Private Information confidential and securely

maintained, to use such Private Information solely for business and health care purposes, and to

prevent the unauthorized disclosures of their Private Information. Plaintiff and Class Members

reasonably expected that Defendant would safeguard their highly sensitive information and keep

that Private Information confidential.

55.   As described throughout this Complaint, Defendant did not reasonably protect, secure, or

store Plaintiff’s and Class Members’ Private Information prior to, during, or after the Data Breach,

but rather, enacted unreasonable data security measures that they knew or should have known

were insufficient to reasonably protect the highly sensitive information Defendant maintained.

Consequently, cybercriminals circumvented Defendant’s security measures, resulting in a

significant Data Breach.

                        The HCA Healthcare Data Breach and Notice Letter

56.   According to the Notice Defendant provided to Plaintiff and Class Members, Defendant

was subject to a cybersecurity ransomware attack where unauthorized parties accessed Private




 Case 3:23-cv-00998         Document 1           12 09/20/23
                                              Filed               Page 12 of 54 PageID #: 12
 Information on their networks, which was discovered on or around July 5, 2023. 23

 57.     The investigation revealed that “HCA Healthcare discovered that a list of certain

 information with respect to some of its patients” had been stolen by unidentified unauthorized

 parties, containing the following types of personal information and/or protected health

 information: patient names; city, state, and zip code of residence; email addresses; telephone

 numbers; dates of birth; gender; and patient service dates, locations and next appointment dates. 24

 58.     According to Defendant, Plaintiff’s and Class Members’ Private Information was

 exfiltrated and stolen in the attack.

 59.     Defendant claims that the information stolen in the attack did not include “Clinical

 information, such as treatment, diagnosis, or condition;” “Payment information, such as credit

 card or account numbers;” or “Sensitive information, such as passwords, driver’s license or social

 security numbers.” 25

 60.     However, this is at odds with data already presented for sale on the Deep Web, where the

 hacker responsible for the Data Breach stated, “I have emails with health diagnosis that

 correspond to a clientID.” 26

 61.     Once HCA became aware of its Data Breach, HCA advises its clients that it “disabled user

 access to the storage location as an immediate containment measure,” but only vaguely referenced

 “several robust security strategies, systems, and protocols in place to help protect data,” offering

 no further specifics about what steps it has taken, or will take, to prevent further exploitation of



23
   See HCA Healthcare website, Substitute Notice Alert,
https://hcahealthcare.com/util/documents/2023/SubstituteNotice.pdf (last viewed September 17,
2023).
24
   Id.
25
   Id.
26
   See Databreaches.net, https://www.databreaches.net/hca-healthcare-releases-statement-while-
hacker-puts-data-up-for-sale-on-deep-web. (Last viewed September 17, 2023.)


     Case 3:23-cv-00998       Document 1         13 09/20/23
                                              Filed               Page 13 of 54 PageID #: 13
 its systems. 27

 62.     As a HIPAA covered business entity that collects, creates, and maintains significant

 volumes of Private Information, the targeted attack was a foreseeable risk which Defendant was

 aware of and knew it had a duty to guard against. This is particularly true because the targeted

 attack appears to have been a ransomware attack. It is well-known that healthcare businesses and

 insurers such as Defendant, which collects and stores the confidential and sensitive PII/PHI of

 millions of individuals, are frequently targeted by cyberattacks. Further, cyberattacks are highly

 preventable through the implementation of reasonable and adequate cybersecurity safeguards,

 including proper employee cybersecurity training.

 63.     The targeted cyberattack was expressly designed to gain access to and exfiltrate private

 and confidential data, including (among other things) the Private Information of patients, like

 Plaintiff and Class Members.

 64.     Defendant had obligations created by HIPAA, contract, industry standards, common law,

 and its own promises and representations made to Plaintiff and Class Members to keep their

 Private Information confidential and to protect it from unauthorized access and disclosure.

 65.     Plaintiff and Class Members provided their Private Information to Defendant with the

 reasonable expectation and mutual understanding that Defendant would comply with its

 obligations to keep such information confidential and secure from unauthorized access.

 66.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class Members’

 Private Information, Defendant assumed legal and equitable duties and knew, or should have

 known, that it was responsible for protecting Plaintiff’s and Class Members’ Private Information



27
  See HCA Healthcare website, Substitute Notice Alert,
https://hcahealthcare.com/util/documents/2023/SubstituteNotice.pdf (last viewed September 17,
2023).


     Case 3:23-cv-00998      Document 1           14 09/20/23
                                               Filed              Page 14 of 54 PageID #: 14
from unauthorized disclosure.

67.      Due to Defendant’s inadequate security measures and their woefully inadequate notice to

victims, Plaintiff and Class Members now face a present, immediate, and ongoing risk of fraud

and identity theft that they will have to deal with for the rest of their lives.

           HCA was on Notice to the Foreseeable Risk of A Data Breach

68.      As a HIPAA covered entity handling the medical patient data of insureds, Defendant’s data

security obligations were particularly important given the substantial increase in cyberattacks

and/or data breaches in the healthcare industry, and other industries holding significant amounts

of PII and PHI, preceding the date of the breach.

69.      At all relevant times, Defendant knew, or should have known that Plaintiff’s and Class

Members’ Private Information was a target for malicious actors. Despite such knowledge,

Defendant failed to implement and maintain reasonable and appropriate data privacy and security

measures to protect Plaintiff’s and Class Members’ Private Information from cyberattacks that

Defendant should have anticipated and guarded against.

70.      Moreover, Defendant failed to implement and maintain reasonable and appropriate data

privacy and security measures that would timely alert Defendant of any such attack, should one

occur.

71.      In light of recent high profile data breaches at other health care providers, Defendant knew

or should have known that their electronic records and consumers’ Private Information would be

targeted by cybercriminals and ransomware attack groups.

72.      The rate of healthcare data breaches has been on the rise in the past five years. “In 2018,

healthcare data breaches of 500 or more records were being reported at a rate of around 1 per day.

Fast forward 5 years and the rate has more than doubled. In 2022, an average of 1.94 healthcare




 Case 3:23-cv-00998           Document 1          15 09/20/23
                                               Filed                Page 15 of 54 PageID #: 15
 data breaches of 500 or more records were reported each day.” 28

     73.   Cyber criminals seek out PHI at a greater rate than other sources of personal information.

 In a 2022 report, the healthcare compliance company, Protenus, found that there were 905 medical

 data breaches in 2021, leaving over 50 million patient records exposed for 700 of the 2021

 incidents. This is an increase from the 758 medical data breaches that Protenus compiled in

 2020. 29

     74.   In light of recent high profile cybersecurity incidents at other healthcare partner and

 provider companies, including American Medical Collection Agency (25 million patients, March

 2019), University of Washington Medicine (974,000 patients, December 2018), Florida

 Orthopedic Institute (640,000 patients, July 2020), Wolverine Solutions Group (600,000 patients,

 September 2018), Oregon Department of Human Services (645,000 patients, March 2019), Elite

 Emergency Physicians (550,000 patients, June 2020), Magellan Health (365,000 patients, April

 2020), and BJC Health System (286,876 patients, March 2020), Defendant knew or should have

 known that their electronic records would be targeted by cybercriminals.

     75.   Indeed, cyberattacks against the healthcare industry have been common for over eleven

 years, with the FBI warning as early as 2011 that cybercriminals were “advancing their abilities

 to attack a system remotely” and “[o]nce a system is compromised, cyber criminals will use their

 accesses to obtain PII.” The FBI further warned that that “the increasing sophistication of cyber

 criminals will no doubt lead to an escalation in cybercrime.” 30


28
   See Healthcare Data Breach Statistics, HIPAA Journal,
https://www.hipaajournal.com/healthcare-data-breach-statistics/ (last viewed September 18,
2023).
29
   See 2022 Breach Barometer, PROTENUS, https://blog.protenus.com/key-takeaways-from-the-
2022-breach-barometer (2022) (last viewed September 17, 2023).
30
   Gordon M. Snow, Statement before the House Financial Services Committee, Subcommittee on
Financial Institutions and Consumer Credit, FBI (Sept. 14, 2011),
https://financialservices.house.gov/uploadedfiles/091411snow.pdf.


     Case 3:23-cv-00998        Document 1          16 09/20/23
                                                Filed               Page 16 of 54 PageID #: 16
     76.   PHI is particularly valuable and has been referred to as a “treasure trove for criminals.” 31

 A cybercriminal who steals a person’s PHI can end up with as many as “seven to 10 personal

 identifying characteristics of an individual.” 32 A study by Experian found that the “average total

 cost” of medical identity theft is “about $20,000” per incident in 2010, and that a majority of

 victims of medical identity theft were forced to pay out-of-pocket costs for healthcare they did not

 receive in order to restore coverage. 33

     77.   Cyberattacks on medical systems, like Defendant’s, have become so notorious that the FBI

 and U.S. Secret Service have issued a warning to potential targets, so they are aware of, and

 prepared for, a potential attack. As one report explained, “[e]ntities like smaller municipalities and

 hospitals are attractive. . . because they often have lesser IT defenses and a high incentive to regain

 access to their data quickly.” 34

     78.   According to an article in the HIPAA Journal posted on October 14, 2022, cybercriminals

 hack into medical practices for their “highly prized” medical records. “[T]he number of data

 breaches reported by HIPAA-regulated entities continues to increase every year. 2021 saw 714

 data breaches of 500 or more records reported to the [HHS’ Office for Civil Rights] OCR – an 11%

 increase from the previous year. Almost three-quarters of those breaches were classified as

 hacking/IT incidents.” 35

     79.   Healthcare organizations are easy targets because “even relatively small healthcare


31
   See Andrew Steger, What Happens to Stolen Healthcare Data?, HEALTHTECH MAGAZINE
(Oct. 30, 2019), healthtechmagazine.net/article/2019/10/what-happens-stolen-healthcare-data-
perfcon (stating “Health information is a treasure trove for criminals.”).
32
   Id.
33
   Elinor Mills, Study: Medical identity theft is costly for victims, CNET (Mar. 3, 2010),
https://www.cnet.com/news/privacy/study-medical-identity-theft-is-costly-for-victims/.
34
   FBI, Secret Service Warn of Targeted, Law360 (Nov. 18, 2019),
https://www.law360.com/articles/1220974/fbi-secret-service-warn-of-targeted-ransomware.
35
   The HIPAA Journal, Editorial: Why Do Criminals Target Medical Records (Oct. 14, 2022),
https://www.hipaajournal.com/why-do-criminals-target-medical-records.


     Case 3:23-cv-00998         Document 1          17 09/20/23
                                                 Filed               Page 17 of 54 PageID #: 17
 providers may store the records of hundreds of thousands of patients. The stored data is highly

 detailed, including demographic data, Social Security numbers, financial information, health

 insurance information, and medical and clinical data, and that information can be easily

 monetized.” 36 In this case, Defendant stored the records of millions of patients.

     80.   Private Information, like that stolen from Defendant, is “often processed and packaged with

 other illegally obtained data to create full record sets (fullz) that contain extensive information on

 individuals, often in intimate detail.” The record sets are then sold on dark web sites to other

 criminals and “allows an identity kit to be created, which can then be sold for considerable

 profit to identity thieves or other criminals to support an extensive range of criminal activities.” 37

     81.   Cybercriminals also maintain encrypted information on individuals to sell in “fullz” 38

 records because that information can be foreseeably decrypted in the future.

     82.   Given these facts, any company that transacts business with consumers and then

 compromises the privacy of consumers’ Private Information has thus deprived that consumer of

 the full monetary value of the consumer’s transaction with the company.

     83.   In fact, according to the cybersecurity firm Mimecast, 90% of healthcare organizations

 experienced cyberattacks in the past year. 39

     84.   Defendant were on notice that the FBI has concerns about data security in the healthcare

 industry. In August 2014, after a cyberattack on Community Health Systems, Inc., the FBI warned

 companies within the healthcare industry that hackers were targeting them. The warning stated


36
   See id.
37
   See id.
38
   See Investopedia “Fullz (or “fulls”) is a slang term for “full information.” Criminals who steal
credit card information use the term to refer to a complete set of information on a prospective
fraud victim. https://www.investopedia.com/fullz-definition-4684000.
39
   See Maria Henriquez, Iowa City Hospital Suffers Phishing Attack, Security Magazine (Nov. 23,
2020), https://www.securitymagazine.com/articles/93988-iowa-city-hospital-suffers-phishing-
attack.


     Case 3:23-cv-00998        Document 1           18 09/20/23
                                                 Filed              Page 18 of 54 PageID #: 18
 that “[t]he FBI has observed malicious actors targeting healthcare related systems, perhaps for the

 purpose of obtaining the Protected Healthcare Information (PHI) and/or Personally Identifiable

 Information (PII).” 40

     85.   The American Medical Association (“AMA”) has also warned healthcare companies about

 the importance of protecting their patients’ confidential information:

       Cybersecurity is not just a technical issue; it’s a patient safety issue. AMA research has revealed
       that 83% of physicians work in a practice that has experienced some kind of cyberattack.
       Unfortunately, practices are learning that cyberattacks not only threaten the privacy and security
       of patients’ health and financial information, but also patient access to care. 41

     86.   As implied by the above AMA quote – “patient access to care” -- stolen Private Information

 can be used to interrupt important medical services. This is an imminent and certainly impending

 risk for Plaintiff and Class Members.

     87.   The U.S. Department of Health and Human Services and the Office of Consumer Rights

 (“OCR”) urges the use of encryption of data containing sensitive personal information. As far

 back as 2014, the Department fined two healthcare companies approximately two million dollars

 for failing to encrypt laptops containing sensitive personal information. In announcing the fines,

 Susan McAndrew, formerly OCR’s deputy director of health information privacy, stated in 2014

 that “[o]ur message to these organizations is simple: encryption is your best defense against these

 incidents.” 42

     88.   As a HIPAA covered entity, Defendant should have known about their data security


40
   Jim Finkle, FBI Warns Healthcare Firms that they are Targeted by Hackers, REUTERS (Aug.
2014), https://www.reuters.com/article/us-cybersecurity-healthcare-fbi/fbi-warns-healthcare-
firms-they-are-targeted-by-hackers-idINKBN0GK24U20140820.
41
   Andis Robeznieks, Cybersecurity: Ransomware attacks shut down clinics, hospitals, AM.
MED.ASS’N (Oct 4, 2019), https://www.ama-assn.org/practice-
anagement/sustainability/cybersecurity-ransomware-attacks-shut-down-clinics-hospitals.
42
   Susan D. Hall, OCR levies $2 million in HIPAA fines for stolen laptops, Fierce Healthcare
(Apr. 23, 2014), https://www.fiercehealthcare.com/it/ocr-levies-2-million-hipaa-fines-for-stolen-
laptops.


     Case 3:23-cv-00998         Document 1           19 09/20/23
                                                  Filed                Page 19 of 54 PageID #: 19
 vulnerabilities and implemented enhanced and adequate protection, particularly given the nature

 of the Private Information stored in their unprotected files.

                            HCA Failed to Comply with FTC Guidelines

     89.   The Federal Trade Commission (“FTC”) has promulgated numerous guides for businesses

 which highlight the importance of implementing reasonable data security practices. According to

 the FTC, the need for data security should factor into all business decision-making.

     90.   In 2016, the FTC updated its publication, Protecting Personal Information: A Guide for

 Business, which established cyber-security guidelines for businesses. The guidelines note that

 businesses should protect the personal customer information that they keep; properly dispose of

 personal information that is no longer needed; encrypt information stored on computer networks;

 understand their network’s vulnerabilities; and implement policies to correct any security

 problems. 43 The guidelines also recommend that businesses use an intrusion detection system to

 expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

 is attempting to hack the system; watch for large amounts of data being transmitted from the

 system; and, have a response plan ready in the event of a breach. 44

     91.   The FTC further recommends that companies not maintain PII longer than necessary for

 authorization of a transaction; limit access to sensitive data; require complex passwords to be

 used on networks; use industry-tested methods for security; monitor for suspicious activity on the

 network; and verify that third-party service providers have implemented reasonable security

 measures.

     92.   The FTC has brought enforcement actions against businesses for failing to adequately and


43
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (Oct.
2016), available at https://www.ftc.gov/system/files/documents/plain-language/pdf-
0136_proteting-personal-information.pdf.
44
   Id.


     Case 3:23-cv-00998        Document 1         20 09/20/23
                                               Filed              Page 20 of 54 PageID #: 20
reasonably protect customer data, treating the failure to employ reasonable and appropriate

measures to protect against unauthorized access to confidential consumer data as an unfair act or

practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. §

45. Orders resulting from these actions further clarify the measures businesses must take to meet

their data security obligations.

93.    These FTC enforcement actions include actions against healthcare providers and partners

like Defendant. See, e.g., In the Matter of LabMD, Inc., A Corp, 2016-2 Trade Cas. (CCH) ¶

79708, 2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that

LabMD’s data security practices were unreasonable and constitute an unfair act or practice in

violation of Section 5 of the FTC Act.”).

94.    Defendant failed to properly implement basic data security practices, including by failing

to implement an adequate intrusion detection system which would expose a breach as soon as it

occurs.

95.    Defendant’s failure to employ reasonable and appropriate measures to protect against

unauthorized access to patients’ Private Information constitutes an unfair act or practice

prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

96.    Defendant was at all times fully aware of its obligations to protect the Private Information

of customers and patients. Defendant was also aware of the significant repercussions that would

result from its failure to do so.

                         HCA Failed to Comply with Industry Standards

97.    As described above, experts studying cybersecurity routinely identify healthcare providers

and partners as being particularly vulnerable to cyberattacks because of the value of the Private

Information which they collect and maintain.




 Case 3:23-cv-00998          Document 1         21 09/20/23
                                             Filed               Page 21 of 54 PageID #: 21
 98.   Several best practices have been identified that at a minimum should be implemented by

healthcare service providers like Defendant, including but not limited to; educating all employees;

strong passwords; multi-layer security, including firewalls, anti-virus, and anti-malware

software; encryption, making data unreadable without a key; multi-factor authentication;

backup data; and limiting which employees can access sensitive data.

 99.   Other best cybersecurity practices that are standard in the healthcare industry include

installing appropriate malware detection software; monitoring and limiting the network ports;

protecting web browsers and email management systems; setting up network systems such as

firewalls, switches, and routers; monitoring and protection of physical security systems;

protection against any possible communication system; and, training staff regarding critical points.

100.   On information and belief, Defendant failed to meet the minimum standards of any of the

following frameworks: the NIST Cybersecurity Framework Version 1.1 (including without

limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1,

PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the

Center for Internet Security’s Critical Security Controls (CIS CSC), which are all established

standards in reasonable cybersecurity readiness.

101.   These foregoing frameworks are existing and applicable industry standards in the

healthcare industry, and Defendant failed to comply with these accepted standards, thereby

opening the door to the cyber incident and causing the data breach.

                             HCA’s Conduct Violates HIPAA Obligations
                                    to Safeguard PII and PHI

102.   As a healthcare company, and by handling medical patient data, Defendant is, and

acknowledges that it is, a covered entity under HIPAA (45 C.F.R. § 160.103) and is required to

comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part 160 and Part 164,



 Case 3:23-cv-00998         Document 1          22 09/20/23
                                             Filed               Page 22 of 54 PageID #: 22
Subparts A and E (“Standards for Privacy of Individually Identifiable Health Information”), and

Security Rule (“Security Standards for the Protection of Electronic Protected Health

Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C.

103.   HIPAA requires a covered entity to protect against reasonably anticipated threats to the

security of sensitive patient health information.

104.   Defendant is subject to the rules and regulations for safeguarding electronic forms of

medical information pursuant to the Health Information Technology Act (“HITECH”). See 42

U.S.C. §17921, 45 C.F.R. § 160.103.

105.   HIPAA’s Privacy Rule or Standards for Privacy of Individually Identifiable Health

Information establishes national standards for the protection of health information that is kept or

transferred in electronic form.

106.   HIPAA covered entities must implement safeguards to ensure the confidentiality, integrity,

and availability of PHI. Safeguards must include physical, technical, and administrative

components.

107.   Title II of HIPAA contains what are known as the Administrative Simplification

provisions. 42 U.S.C. §§ 1301, et seq. These provisions require, among other things, that the

Department of Health and Human Services (“HHS”) create rules to streamline the standards for

handling PII like the data Defendant left unguarded. The HHS subsequently promulgated multiple

regulations under authority of the Administrative Simplification provisions of HIPAA. These

rules include 45 C.F.R. § 164.306(a)(1-4); 45 C.F.R. § 164.312(a)(1); 45 C.F.R. §

164.308(a)(1)(i); 45 C.F.R. § 164.308(a)(1)(ii)(D), and 45 C.F.R. § 164.530(b).

108.   A Data Breach such as the one Defendant experienced, is considered a breach under the

HIPAA Rules because there is an access of PHI not permitted under the HIPAA Privacy Rule:




 Case 3:23-cv-00998         Document 1           23 09/20/23
                                              Filed              Page 23 of 54 PageID #: 23
          A breach under the HIPAA Rules is defined as, “...the acquisition, access, use,
          or disclosure of PHI in a manner not permitted under the [HIPAA Privacy Rule]
          which compromises the security or privacy of the PHI.” See 45 C.F.R. 164.40.

109.     The Data Breach resulted from a combination of insufficiencies that demonstrate

 Defendant failed to comply with safeguards mandated by HIPAA regulations.

            Consumers Are Subject to an Increased Risk of Fraud and Identity Theft
                       As a Result of Cyberattacks and Data Breaches

110.     Cyberattacks and data breaches at health care companies like Defendant are especially

 problematic because they can negatively impact the overall daily lives of individuals affected by

 the attack.

111.     Researchers have found that among medical service providers that experience a data

 security incident, the cardiac death rate among patients increased in the months and years after

 the attack. 45

112.     Researchers have further found that at medical service providers that experienced a data

 security incident, the incident was associated with deterioration in timeliness and patient

 outcomes, generally. 46

113.     The United States Government Accountability Office released a report in 2007 regarding

 data breaches (“GAO Report”) in which it noted that victims of identity theft face “substantial

 costs and time to repair the damage to their good name and credit record.” 47



45
   See Nsikan Akpan, Ransomware and Data Breaches Linked to Uptick in Fatal Heart Attacks,
PBS (Oct. 24, 2019), https://www.pbs.org/newshour/science/ransomware-and-other-data-
breaches-linked-to-uptick-in-fatal-heart-attacks.
46
   See Sung J. Choi et al., Data Breach Remediation Efforts and Their Implications for Hospital
Quality, 54 Health Services Research 971, 971-980 (2019),
https://onlinelibrary.wiley.com/doi/full/10.1111/1475-6773.13203.
47
    See U.S. Gov. Accounting Office, GAO-07-737, Personal Information: Data Breaches Are
Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf.


     Case 3:23-cv-00998      Document 1         24 09/20/23
                                             Filed               Page 24 of 54 PageID #: 24
114.     That is because any victim of a data breach is exposed to serious ramifications regardless

 of the nature of the data. Indeed, the reason criminals steal PII is to monetize it. They do this by

 selling the spoils of their cyberattacks on the black market to identity thieves who desire to extort

 and harass victims, take over victims’ identities to engage in illegal financial transactions under the

 victims’ names. Because a person’s identity is akin to a puzzle, the more accurate pieces of data an

 identity thief obtains about a person, the easier it is for the thief to take on the victim’s identity,

 or otherwise harass or track the victim. For example, armed with just a name and date of birth, a

 data thief can utilize a hacking technique referred to as “social engineering” to obtain even more

 information about a victim’s identity, such as a person’s login credentials or Social Security

 number. Social engineering is a form of hacking whereby a data thief uses previously acquired

 information to manipulate individuals into disclosing additional confidential or personal

 information through means such as spam phone calls and text messages or phishing emails.

115.     The FTC recommends that identity theft victims take several steps to protect their personal

 and financial information after a data breach, including contacting one of the credit bureaus to

 place a fraud alert (consider an extended fraud alert that lasts for seven years if someone steals their

 identity), reviewing their credit reports, contacting companies to remove fraudulent charges from

 their accounts, placing a credit freeze on their credit, and correcting their credit reports. 48

116.     Identity thieves use stolen Private Information such as Social Security numbers for a variety

 of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

117.     Identity thieves can also use Social Security numbers to obtain a driver’s license or official

 identification card in the victim’s name but with the thief’s picture; use the victim’s name and

 Social Security number to obtain government benefits; or file a fraudulent tax return using the


48
  See IdentityTheft.gov, Federal Trade Commission, https://www.identitytheft.gov/Steps (last
visited September 17, 2023).


     Case 3:23-cv-00998       Document 1           25 09/20/23
                                                Filed                Page 25 of 54 PageID #: 25
 victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

 Security number, rent a house or receive medical services in the victim’s name, and may even give

 the victim’s personal information to police during an arrest resulting in an arrest warrant being

 issued in the victim’s name.

118.     Moreover, theft of Private Information is also gravely serious because Private Information

 is an extremely valuable property right. 49

119.     Its value is axiomatic, considering the value of “big data” in corporate America and the fact

 that the consequences of cyber thefts include heavy prison sentences. Even this obvious risk to

 reward analysis illustrates beyond doubt that Private Information has considerable market value.

120.     It must also be noted there may be a substantial time lag – measured in years -- between

 when harm occurs and when it is discovered, and also between when Private Information and/or

 financial information is stolen and when it is used.

121.     According to the U.S. Government Accountability Office, which conducted a study

 regarding data breaches:

          [L]aw enforcement officials told us that in some cases, stolen data may be held
          for up to a year or more before being used to commit identity theft. Further, once
          stolen data have been sold or posted on the Web, fraudulent use of that
          information may continue for years. As a result, studies that attempt to measure
          the harm resulting from data breaches cannot necessarily rule out all future harm.

 See GAO Report, at p. 29.

122.     Private Information is such a valuable commodity to identity thieves that once the

 information has been compromised, criminals often trade the information on the “cyber black-

 market” for years.

49
  See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).


     Case 3:23-cv-00998       Document 1          26 09/20/23
                                               Filed               Page 26 of 54 PageID #: 26
123.     Stolen information have been dumped on the black market and are yet to be dumped on the

 black market, meaning Plaintiff and Class Members are at an increased risk of fraud and identity

 theft for many years into the future.

124.     Thus, Plaintiff and Class Members must vigilantly monitor their financial and medical

 accounts for many years to come—as Defendant has suggested that they do.

125.     Private Information can sell for as much as $363 per record according to the Infosec

 Institute. 50 Private Information is particularly valuable because criminals can use it to target

 victims with frauds and scams. Once Private Information is stolen, fraudulent use of that

 information and damage to victims may continue for years.

126.     For example, the Social Security Administration has warned that identity thieves can use

 an individual’s Social Security number to apply for additional credit lines. 51 Such fraud may go

 undetected until debt collection calls commence months, or even years, later. Stolen Social Security

 numbers also make it possible for thieves to file fraudulent tax returns, file for unemployment

 benefits, or apply for a job using a false identity. 52 Each of these fraudulent activities is difficult

 to detect. An individual may not know that his or her Social Security number was used to file for

 unemployment benefits until law enforcement notifies the individual’s employer of the suspected

 fraud. Fraudulent tax returns are typically discovered only when an individual’s authentic tax

 return is rejected.

127.     Moreover, it is no simple process to change or cancel a stolen Social Security number.

128.     An individual cannot obtain a new Social Security number without significant paperwork



50
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market.
51
   Identity Theft and Your Social Security Number, Social Security Administration (July 2021),
https://www.ssa.gov/pubs/EN-05-10064.pdf.
52
   Id.


     Case 3:23-cv-00998       Document 1           27 09/20/23
                                                Filed                Page 27 of 54 PageID #: 27
 and evidence of actual misuse. Even after the individual has completed the paperwork and

 abolished the misuse, a new Social Security number may not be effective, as “[t]he credit bureaus

 and banks are able to link the new number very quickly to the old number, so all of that old bad

 information is quickly inherited into the new Social Security number.” 53

129.     This data, as one would expect, demands a much higher price on the black market.

130.     Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to

 credit card information, personally identifiable information and Social Security Numbers are worth

 more than 10x on the black market.” 54

131.     Medical information is especially valuable to identity thieves.

132.     Theft of PHI, in particular, is gravely serious: “[a] thief may use your name or health

 insurance numbers to see a doctor, get prescription drugs, file claims with your insurance

 provider, or get other care. If the thief’s health information is mixed with yours, your treatment,

 insurance and payment records, and credit report may be affected.” 55

133.     Legitimate companies buy PII on illegal or shadow markets in an attempt to increase their

 market share. Pharmaceutical makers, medical device manufacturers, pharmacies, hospitals, and

 other healthcare service providers do purchase PHI on the black market for the purpose of target

 marketing their products and services to the physical maladies of the data breach victims

 themselves. A d d i t i o n a l l y , Insurance companies purchase and use wrongfully disclosed

 PHI to adjust their insureds’ medical insurance premiums.


53
   Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft.
54
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, Computer World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hack-
personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html.
55
   See Federal Trade Commission, Medical Identity Theft,
http://www.consumer.ftc.gov/articles/0171-medical-identity-theft.


     Case 3:23-cv-00998       Document 1          28 09/20/23
                                               Filed               Page 28 of 54 PageID #: 28
134.   Because of the value of its collected and stored data, the medical industry has experienced

disproportionally higher numbers of data theft events than other industries.

135.   For this reason, Defendant knew or should have known about these dangers and

strengthened its data and email handling systems accordingly. Defendant were on notice of the

substantial and foreseeable risk of harm from a data breach, yet Defendant failed to properly

prepare for that risk.

             HCA Breached Its Obligations to Plaintiff and Class Members

136.   Defendant breached its obligations to Plaintiff and Class Members and/or were otherwise

negligent and reckless because they failed to properly maintain and safeguard their computer

systems and data. Defendant’s unlawful conduct includes, but is not limited to, the following acts

and/or omissions based upon information and belief:

                a.       Failing to maintain an adequate data security system to reduce the risk of

                         data breaches and cyber-attacks;

                b.       Failing to adequately protect patients’ and customers’ Private Information;

                c.       Failing to properly monitor its own data security systems for existing

                         intrusions;

                d.       Failing to ensure that its vendors with access to its computer systems and

                         data employed reasonable security procedures;

                e.       Failing to train its employees in the proper handling of emails containing

                         Private Information and maintain adequate email security practices;

                 f.      Failing to ensure the confidentiality and integrity of electronic PHI

                         it created, received, maintained, and/or transmitted, in violation of 45

                         C.F.R. § 164.306(a)(1);




 Case 3:23-cv-00998          Document 1          29 09/20/23
                                              Filed               Page 29 of 54 PageID #: 29
           g.    Failing to implement technical policies and procedures for electronic

                 information systems that maintain electronic PHI to allow access only to

                 those persons or software programs that have been granted access rights

                 in violation of 45 C.F.R. § 164.312(a)(1);

           h.    Failing to implement policies and procedures to prevent, detect, contain,

                 and correct security violations in violation of 45 C.F.R. §

                 164.308(a)(1)(i);

           i.    Failing to implement procedures to review records of information system

                 activity regularly, such as audit logs, access reports, and security incident

                 tracking reports in violation of 45 C.F.R. § 164.308(a)(1)(ii)(D);

           j.    Failing to protect against reasonably anticipated threats or hazards to the

                 security or integrity of electronic PHI in violation of 45 C.F.R. §

                 164.306(a)(2);

           k.    Failing to protect against reasonably anticipated uses or disclosures of

                 electronic PHI that are not permitted under the privacy rules regarding

                 individually identifiable health information in violation of 45 C.F.R. §

                 164.306(a)(3);

           l.    Failing to ensure compliance with HIPAA security standard rules by its

                 workforces in violation of 45 C.F.R. § 164.306(a)(4);

           m.    Failing to train all members of its workforces effectively on the policies

                 and procedures regarding PHI as necessary and appropriate for the

                 members of its workforces to carry out their functions and to maintain

                 security of PHI, in violation of 45 C.F.R. § 164.530(b);Failing to render




Case 3:23-cv-00998   Document 1           30 09/20/23
                                       Filed                Page 30 of 54 PageID #: 30
                        the electronic Private Information it maintained unusable, unreadable, or

                        indecipherable to unauthorized individuals, as it had not encrypted the

                        electronic PHI as specified in the HIPAA Security Rule by “the use of

                        an algorithmic process to transform data into a form in which there is a

                        low probability of assigning meaning without use of a confidential

                        process or key” (45 CFR § 164.304’s definition of “encryption”);

                n.      Failing to comply with FTC guidelines for cybersecurity, in violation of

                        Section 5 of the FTC Act;

                o.      Failing to adhere to industry standards for cybersecurity as discussed

                        above; and

                p.      Otherwise breaching its duties and obligations to protect Plaintiff’s and

                        Class Members’ Private Information.

137.   Defendant negligently and unlawfully failed to safeguard Plaintiff’s and Class Members’

Private Information by allowing cyberthieves to access their computer network and systems,

which contained Private Information.

138.   Accordingly, as set out in detail herein, Plaintiff and Class Members are exposed to an

increased risk of fraud and identity theft. And further, Plaintiff and the Class Members also lost the

benefit of the bargain they made with Defendant for health services.

                       Plaintiff Richards’ and Class Members’ Damages

139.   Due to the heightened sensitivity of the Private Information accessed during this Data

Breach, Plaintiff and Class Members have all suffered damages and will face a substantial risk of

additional injuries for years to come, if not for the rest of their lives. Beyond providing inadequate

credit monitoring and identify protection services, Defendant has done nothing to compensate




 Case 3:23-cv-00998         Document 1           31 09/20/23
                                              Filed                Page 31 of 54 PageID #: 31
Plaintiff or Class Members for many of the injuries they have already suffered. Defendant has not

demonstrated any efforts to prevent additional harm from befalling Plaintiff and Class Members

as a result of its Data Breach.

140.   Plaintiff and Class Members have been damaged by the compromise of their Private

Information in the Data Breach.

141.   Plaintiff’s and Class Members’ Private Information was all compromised in the Data

Breach and are now in the hands of the cybercriminals who accessed Defendant’s computer

systems.

142.   In short, once PII and PHI is exposed, there is no way to ensure that the exposed data has

been fully recovered or gathered and protected against future misdeeds. Because of this, Plaintiff

and Class Members will need to maintain the heightened security and monitoring measures for

years, and likely for the rest of their lives due to Defendant’s failures. Moreover, the value of

Plaintiff and Class Members’ PII and PHI has been diminished by its exposure in the Data Breach.

143.   Since being notified of the Data Breach, Plaintiff has spent time dealing with the impact of

the Data Breach, valuable time Plaintiff otherwise would have spent on other activities, including

but not limited to work and/or recreation.

144.   Due to the Data Breach, Plaintiff anticipates that she will need to spend considerable time

and money on a regular and ongoing basis to try to mitigate and address harms caused by the Data

Breach. This includes changing passwords, cancelling credit and debit cards, and monitoring her

accounts for fraudulent activity.

145.   Plaintiff’s and Class Members’ Private Information was compromised as a direct and

proximate result of the Data Breach.

146.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class Members have




 Case 3:23-cv-00998         Document 1          32 09/20/23
                                             Filed               Page 32 of 54 PageID #: 32
been placed at a present, imminent, immediate, and continuing increased risk of harm from fraud

and identity theft.

147.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class Members have

been forced to spend time dealing with the effects of the Data Breach.

148.   Plaintiff and Class Members face substantial risk of out-of-pocket fraud losses such as

loans opened in their names, medical services billed in their names, tax return fraud, utility bills

opened in their names, credit card fraud, and similar identity theft.

149.   Plaintiff and Class Members face substantial risk of being targeted for future phishing, data

intrusion, and other illegal schemes based on Plaintiff’s and Class Members’ Private Information

as potential fraudsters could use that information to more effectively target such schemes to

Plaintiff and Class Members.

150.   Plaintiff and Class Members may also incur out-of-pocket costs for protective measures

such as credit monitoring fees, credit report fees, and similar costs directly or indirectly related to

the Data Breach.

151.   Plaintiff and Class Members also suffered a loss of value of their Private Information when

it was acquired by cyber thieves in the Data Breach. Numerous courts have recognized the

propriety of loss of value damages in related cases.

152.   Plaintiff and Class Members were also damaged by benefit-of-the-bargain damages.

Plaintiff and Class Members overpaid for a service—healthcare—that was intended to be

accompanied by adequate data security that complied with industry standards but it was not. Part

of the price Plaintiff and Class Members paid to Defendant was intended to be used by Defendant

to fund adequate security of computer system(s) and Plaintiff’s and Class Members’ Private

Information. Thus, Plaintiff and Class Members did not get what they paid for and agreed to.




 Case 3:23-cv-00998          Document 1           33 09/20/23
                                               Filed               Page 33 of 54 PageID #: 33
153.   Plaintiff and Class Members have spent and will continue to spend significant amounts of

time monitoring their accounts and sensitive information for misuse.

154.   Plaintiff and Class Members have suffered or will suffer actual injury as a direct result of

the Data Breach. Many victims suffered ascertainable losses in the form of out-of-pocket expenses

and the value of their time reasonably incurred to remedy or mitigate the effects of the Data

Breach relating to:

                a.     Reviewing and monitoring sensitive accounts and finding fraudulent

                       insurance claims, loans, and/or government benefits claims;

                b.     Purchasing credit monitoring and identity theft prevention;

                c.     Placing “freezes” and “alerts” with reporting agencies;

                d.     Spending time on the phone with or at financial institutions, healthcare

                       providers, and/or government agencies to dispute unauthorized and

                       fraudulent activity in their name;

                e.     Contacting financial institutions and closing or modifying financial

                       accounts; and

                f.     Closely reviewing and monitoring Social Security Number, medical

                       insurance accounts, bank accounts, and credit reports for unauthorized

                       activity for years to come.

155.   Moreover, Plaintiff and Class Members have an interest in ensuring that their Private

Information, which is believed to remain in the possession of the Defendant, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing Private Information is

not accessible online and that access to such data is password protected.




 Case 3:23-cv-00998         Document 1          34 09/20/23
                                             Filed               Page 34 of 54 PageID #: 34
156.   Further, as a result of Defendant’s conduct, Plaintiff and Class Members are forced to live

with the anxiety that their Private Information—which contains the most intimate details about a

person’s life, including what ailments they suffer, whether physical or mental—may be disclosed

to the entire world, thereby subjecting them to embarrassment and depriving them of any right to

privacy whatsoever.

157.   As a direct and proximate result of Defendant’s actions and inactions, Plaintiff and Class

Members have suffered anxiety, emotional distress, loss of time, loss of privacy, and are at an

increased risk of future harm.

                               CLASS ACTION ALLEGATIONS

158.   Plaintiff brings this action against Defendant on behalf of herself, individually, and on behalf

of all other persons similarly situated (“the Class”), pursuant to Rule 23 of the Federal Rules of

Civil Procedure.

159.   Plaintiff seeks to represent a class of persons to be defined as follows, and proposes the

following Class definition, subject to amendment as appropriate:

        All persons in the United States and its territories who Defendant identified
        as being among those individuals impacted by the Data Breach announced
        on or about July 10, 2023, including all persons who were sent a notice of
        the Data Breach (the “Nationwide Class”).

160.   Excluded from the Class are Defendant’s officers, directors, and employees; any entity in

which Defendant has a controlling interest; and the affiliates, legal representatives, attorneys,

successors, heirs, and assigns of the Defendant. Excluded also from the Class are members of the

judiciary to whom this case is assigned, their families and Members of their staff.

161.   This proposed class definition is based on the information available to Plaintiff at this time.

162.   Plaintiff reserves the right to amend or modify the Class definition or create additional

subclasses in an amended pleading or when she moves for class certification, as necessary to




 Case 3:23-cv-00998          Document 1           35 09/20/23
                                               Filed               Page 35 of 54 PageID #: 35
account for any newly learned or changed facts as the situation develops and discovery proceeds

and as this case progresses.

163.   Numerosity. Plaintiff is informed and believes, and thereon alleges, that there are at a

minimum, millions of members of the Class as described above. The exact size of the Class and

the identities of the individual member are identifiable through HCA’s records, including the files

implicated in the Data Breach. The Members of the Class are so numerous that joinder of all of

them is impracticable. Defendant that has acknowledged publicly that the PII of at least 11 million

Class Members was compromised in Data Breach.

164.   Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

               a.      Whether Defendant unlawfully used, maintained, lost, or disclosed

                       Plaintiff’s and Class Members’ Private Information;

               b.      Whether Defendant failed to implement and maintain reasonable

                       security procedures and practices appropriate to the nature and scope of

                       the information compromised in the Data Breach;

               c.      Whether Defendant’s data security systems prior to and during the Data

                       Breach complied with applicable data security laws and regulations

                       including, e.g., HIPAA;

               d.      Whether Defendant’s data security systems prior to and during the Data

                       Breach were consistent with industry standards;

               e.      Whether Defendant owed a duty to Class Members to safeguard their

                       Private Information;




 Case 3:23-cv-00998            Document 1        36 09/20/23
                                              Filed              Page 36 of 54 PageID #: 36
               f.      Whether Defendant breached its duty to Class Members to safeguard

                       their Private Information;

               g.      Whether Defendant knew or should have known that its data security

                       systems and monitoring processes were deficient;

               h.      Whether Defendant exercised reasonable diligence in its monitoring and

                       HCA ,should have discovered the Data Breach sooner;

               i.      Whether Plaintiff and Class Members suffered legally cognizable

                       damages as a result of Defendant’s misconduct;

               j.      Whether Defendant’s conduct was negligent;

               k.      Whether Defendant breached implied contracts with Plaintiff and

                       Class Members;

               l.      Whether Defendant was unjustly enriched by unlawfully retaining a benefit

                       conferred upon them by Plaintiff and Class Members;

               m.      Whether Defendant failed to provide notice of the Data Breach in a timely

                       manner, and;

               n.      Whether Plaintiff and Class Members are entitled to damages, civil

                       penalties, punitive damages, treble damages, and/or injunctive relief.

165.   Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s information, like that of every other Class Member, was compromised in the Data

Breach and the claims of Plaintiff and the Class Members are based on the same legal theories and

arise from the same unlawful and willful conduct.

166.   Adequacy of Representation. Plaintiff is an adequate representative of the Class because

her interests do not conflict with the interests of the Members of the Class. Plaintiff will fairly




 Case 3:23-cv-00998        Document 1           37 09/20/23
                                             Filed               Page 37 of 54 PageID #: 37
and adequately represent and protect the interests of the Members of the Class. Plaintiff has

retained Counsel who are competent and experienced in litigating class actions.

167.   Predominance. Defendant has engaged in a common course of conduct toward Plaintiff

and Class Members, similar or identical violations, business practices, and injuries are involved.

Further, all the data of Plaintiff and Class Members was stored on the same computer system and

unlawfully accessed in the same way. The common issues arising from Defendant’s conduct

affecting Class Members set out above predominate over any individualized issues. Adjudication

of these common issues in a single action has important and desirable advantages of judicial

economy.

168.   Superiority. A class action is superior to other available methods for the fair and efficient

adjudication of the controversy. Class treatment of common questions of law and fact is superior

to multiple individual actions or piecemeal litigation. Absent a class action, most Class Members

would likely find that the cost of litigating their individual claims is prohibitively high and would

therefore have no effective remedy. The prosecution of separate actions by individual Class

Members would create a risk of inconsistent or varying adjudications with respect to individual

Class Members, which would establish incompatible standards of conduct for Defendant.

In contrast, to conduct this action as a class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of each Class

Member.

169.   Declaratory and Injunctive Relief Appropriate. Defendant has acted on grounds that

apply generally to the Class as a whole, so that Class certification, injunctive relief, and

corresponding declaratory relief are appropriate on a Class-wide basis.

170.   Likewise, particular issues under Rule 42(d)(l) are appropriate for certification because




 Case 3:23-cv-00998         Document 1           38 09/20/23
                                              Filed               Page 38 of 54 PageID #: 38
such claims present only particular, common issues, the resolution of which would advance the

disposition of this matter and the parties' interests therein. Such particular issues include, but are

not limited to:

                  a.    Whether Defendant failed to timely notify the public of the Data Breach;

                  b.    Whether Defendant owed a legal duty to Plaintiff and the Class to exercise

                        due care in collecting, storing, and safeguarding their Private Information;

                  c.    Whether Defendant’s security measures to protect their data systems

                        were reasonable in light of best practices recommended by data security

                        experts;

                  d.    Whether Defendant’s failure to institute adequate protective security

                        measures amounted to negligence;

                  e.    Whether Defendant failed to take commercially reasonable steps to

                        safeguard consumer Private Information; and

                  f.    Whether adherence to FTC data security recommendations, and

                        measures recommended by data security experts would have reasonably

                        prevented the Data Breach.

171.   Finally, all members of the proposed Class are readily ascertainable. Defendant has access

to Class Members’ names and addresses affected by the Data Breach. Class Members have

already been preliminarily identified and sent notice of the Data Breach by Defendant.

                                    CLAIMS FOR RELIEF

                   FIRST CAUSE OF ACTION AND CLAIM FOR RELIEF
                                          Negligence
                       (On Behalf of Plaintiff and the Nationwide Class)

172.   Plaintiff re-alleges and incorporates by reference paragraphs 1–171 as if fully set forth




 Case 3:23-cv-00998         Document 1           39 09/20/23
                                              Filed                Page 39 of 54 PageID #: 39
herein.

173.   By collecting and storing the Private Information of Plaintiff and Class Members, in their

computer system and network, and sharing it and using it for commercial gain, Defendant owed a

duty of care to use reasonable means to secure and safeguard their computer system—and Class

Members’ Private Information held within it—to prevent disclosure of the information, and to

safeguard the information from theft. Defendant’s duties included a responsibility to implement

processes by which they could detect a breach of their security systems in a reasonably expeditious

period of time and to give prompt notice to those affected in the case of a data breach.

174.   Defendant owed a duty of care to Plaintiff and Class Members to provide data security

consistent with industry standards and other requirements discussed herein, and to ensure that

their systems and networks, and the personnel responsible for them, adequately protected the

Private Information.

175.   Plaintiff and Class Members are a well-defined, foreseeable, and probable group of patients

that Defendant was aware, or should have been aware, could be injured by inadequate data

security measures.

176.   Defendant’s duty of care to use reasonable security measures arose as a result of the special

relationship that existed between Defendant and its patients, which is recognized by laws and

regulations including but not limited to HIPAA, the FTC Act, and common law. Defendant was

in a superior position to ensure that their systems were sufficient to protect against the foreseeable

risk of harm to Class Members from a data breach.

177.   Defendant’s duty to use reasonable security measures under HIPAA required Defendant to

“reasonably protect” confidential data from “any intentional or unintentional use or disclosure”

and to “have in place appropriate administrative, technical, and physical safeguards to protect the




 Case 3:23-cv-00998         Document 1           40 09/20/23
                                              Filed                Page 40 of 54 PageID #: 40
privacy of protected health information.” 45 C.F.R. § 164.530(c)(1). Some or all of the medical

information at issue in this case constitutes “protected health information” within the meaning of

HIPAA.

178.   In addition, Defendant had a duty to employ reasonable security measures under Section 5

of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of

failing to use reasonable measures to protect confidential data.

179.   Defendant’s duty to use reasonable care in protecting confidential data arose not only as a

result of the statutes and regulations described above, but also because Defendant is bound by

industry standards to protect confidential Private Information.

180.   Defendant breached its duties, and thus was negligent, by failing to use reasonable measures

to protect Class Members’ Private Information. The specific negligent acts and omissions

committed by Defendant include, but are not limited to, the following:

                a.     Failing to adopt, implement, and maintain adequate security measures to

                       safeguard Class Members’ Private Information;

                b.     Failing to adequately monitor the security of their networks and systems;

                c.     Failing to ensure that their email system had plans in place to maintain

                       reasonable data security safeguards;

                d.     Failing to have in place appropriate mitigation policies and procedures;

                e.     Allowing unauthorized access to Class Members’ Private Information;

                f.     Failing to detect in a timely manner that Class Members’ Private

                       Information had been compromised; and

                g.     Failing to timely notify Class Members about the Data Breach so that




 Case 3:23-cv-00998         Document 1          41 09/20/23
                                             Filed                 Page 41 of 54 PageID #: 41
                       they could take appropriate steps to mitigate the potential for identity

                       theft and other damages.

181.   Plaintiff and Class Members have no ability to protect their Private Information that was

or remains in Defendant’s possession.

182.   It was foreseeable that Defendant’s failure to use reasonable measures to protect Class

Members’ Private Information would result in injury to Class Members. Furthermore, the breach

of security was reasonably foreseeable given the known high frequency of cyberattacks and data

breaches in the healthcare industry.

183.   It was therefore foreseeable that the failure to adequately safeguard Class Members’ Private

Information would result in one or more types of injuries to Class Members. In addition, the breach

of security was reasonably foreseeable given the known high frequency of cyberattacks and data

breaches in the healthcare industry.

184.   Defendant’s conduct was grossly negligent and departed from reasonable standards of care,

including but not limited to, failing to adequately protect the Private Information, and failing to

provide Plaintiff and Class Members with timely notice that their sensitive Private Information

had been compromised.

185.   Neither Plaintiff nor Class Members contributed to the Data Breach and subsequent misuse

of their Private Information as described in this Complaint.

186.   Plaintiff and Class Members are also entitled to injunctive relief requiring Defendant to,

e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit to future

annual audits of those systems and monitoring procedures; and (iii) continue to provide adequate

credit monitoring to all Class Members.

187.   The injury and harm Plaintiff and Class Members suffered was the reasonably foreseeable




 Case 3:23-cv-00998         Document 1          42 09/20/23
                                             Filed               Page 42 of 54 PageID #: 42
result of Defendant’s breach of its duties. Defendant knew or should have known that it was failing

to meet its duties, and that Defendant’s breach would cause Plaintiff and Class Members to

experience the foreseeable harms associated with the theft and exposure of their Private

Information.

188.   As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and Class

Members have suffered injury and are entitled to compensatory, consequential, nominal, and

other damages as appropriate and ordered by the Court in an amount to be proven at trial.

               SECOND CAUSE OF ACTION AND CLAIM FOR RELIEF
                              Breach of Express Contract
                  (On behalf of the Plaintiff and the Nationwide Class)

189.   Plaintiff re-alleges and incorporates by reference paragraphs 1–171 as if fully set forth

herein.

190.   Defendant acquired and maintained the Private Information of Plaintiff and the Class that

they received directly through Defendant’s healthcare providers.

191.   Defendant made express promises to Plaintiff and Class Members to safeguard their Private

Information consistent with its obligation as a healthcare provider, which promises are expressly

described herein.

192.   Plaintiff and Class Members had agreements with Defendant under which Defendant

agreed to safeguard and protect such information.

193.   Plaintiff and the Class were required to deliver their Private Information to Defendant as

part of the process of obtaining services provided by Defendant. Plaintiff and Class Members paid

money, or money was paid on their behalf, to Defendant in exchange for services.

194.   Plaintiffs and Class Members were required to provide their Private Information as part of

Defendant’s regular business practices. Defendant accepted possession of Plaintiff’s and Class




 Case 3:23-cv-00998        Document 1           43 09/20/23
                                             Filed               Page 43 of 54 PageID #: 43
Members’ Private Information for the purpose of providing services or Plaintiff and Class

Members.

195.   In delivering their Private Information to Defendant and paying for healthcare services,

Plaintiff and Class Members intended and understood that Defendant would adequately safeguard

the data as part of that service consistent with the express promises herein.

196.   Defendant breached its express promises to safeguard Private Information with Plaintiff

and the other Class Members by failing to take reasonable measures to safeguard their Private

Information as described herein.

197.   As a direct and proximate result of Defendant’s conduct, Plaintiff and the other Class

Members suffered and will continue to suffer damages in an amount to be proven at trial.

                 THIRD CAUSE OF ACTION AND CLAIM FOR RELIEF
                               Breach of Implied Contract
                   (On behalf of the Plaintiff and the Nationwide Class)

198.   Plaintiff re-alleges and incorporates by reference paragraphs 1–171 as if fully set forth

herein.

199.   Defendant acquired and maintained the Private Information of Plaintiff and the Class.

200.   Plaintiff and the Class were required to deliver their Private Information to Defendant

as part of the process of obtaining services provided by Defendant. Plaintiff and Class Members

paid money, or money was paid on their behalf, to Defendant in exchange for services.

201.   Defendant solicited, offered, and invited Class Members to provide their Private

Information as part of their regular business practices. Plaintiff and Class Members accepted

Defendant’s offers and provided their Private Information to Defendant, or, alternatively,

provided Plaintiff’s and Class Members’ information to doctors or other healthcare professionals,

who then provided the Private Information to Defendant.




 Case 3:23-cv-00998         Document 1          44 09/20/23
                                             Filed               Page 44 of 54 PageID #: 44
202.   Defendant accepted possession of Plaintiff’s and Class Members’ Private Information for

the purpose of providing services to Plaintiff and Class Members.

203.   In accepting such information and payment for services, Defendant entered into an implied

contract with Plaintiff and the other Class Members whereby Defendant became obligated to

reasonably safeguard Plaintiff’s and the other Class Members’ Private Information.

204.   Alternatively, Plaintiff and Class Members were the intended beneficiaries of data

protection agreements entered into between Defendant and subsidiary healthcare providers.

205.   In delivering their Private Information to Defendant and paying for healthcare services,

Plaintiff and Class Members intended and understood that Defendant would adequately safeguard

their data as part of that service.

206.   The implied promise of confidentiality includes consideration beyond those pre- existing

general duties owed under HIPAA or other state or federal statutes and regulations. The additional

consideration included implied promises to take adequate steps to comply with specific industry

data security standards and FTC guidelines on data security.

207.   The implied promises include but are not limited to: (1) taking steps to ensure that any

agents who are granted access to Private Information also protect the confidentiality of that data;

(2) taking steps to ensure that the information that is placed in the control of their agents is

restricted and limited to achieve only authorized medical purposes; (3) restricting data access only

to qualified and trained agents; (4) designing and implementing appropriate retention policies to

protect the information against criminal data breaches; (5) applying or requiring proper

encryption; (6) multifactor authentication for access; and (7) other steps to protect against

foreseeable data breaches.

208.   Plaintiff and the Class Members would not have entrusted their Private Information to




 Case 3:23-cv-00998          Document 1         45 09/20/23
                                             Filed               Page 45 of 54 PageID #: 45
Defendant in the absence of such an implied contract.

209.     Had Defendant disclosed to Plaintiff and the Class (or their physicians) that it did not have

adequate computer systems and security practices to secure sensitive data, Plaintiff and the other

Class Members would not have provided their Private Information to Defendant (or their

physicians to provide to Defendant).

210.     Defendant recognized that Plaintiff’s and Class Members’ Private Information is highly

sensitive and must be protected, and that this protection was of material importance as part of the

bargain to Plaintiff and the other Class Members.

211.     Plaintiff and the other Class Members fully performed their obligations under the implied

contracts with Defendant.

212.     Defendant breached the implied contract with Plaintiff and the other Class Members by

failing to take reasonable measures to safeguard their Private Information as described herein.

213.     As a direct and proximate result of Defendant’s conduct, Plaintiff and the other Class

Members suffered and will continue to suffer damages in an amount to be proven at trial.

                 FOURTH CAUSE OF ACTION AND CLAIM FOR RELIEF
                                   Unjust Enrichment
                     (On Behalf of Plaintiff and the Nationwide Class)

214.     Plaintiff re-alleges and incorporates by reference paragraphs 1–171 as if fully set forth

herein.

215.     This count for Unjust Enrichment is pleaded in the alternative to any breach of contract

claim.

216.     Upon information and belief, Defendant pays for its data security measures entirely from

general revenue, including from money it makes based upon protecting Plaintiff’s and Class

Members’ Private Information.




 Case 3:23-cv-00998           Document 1          46 09/20/23
                                               Filed               Page 46 of 54 PageID #: 46
217.   There is a direct nexus between money paid to Defendant and the requirement that

Defendant keep Plaintiff’s and Class Members’ Private Information confidential and protected.

218.   Plaintiff and Class Members paid Defendant and/or healthcare providers a certain sum of

money, which was used to fund data security via contracts with Defendant.

219.   As such, a portion of the payments made by or on behalf of Plaintiff and the Class Members

is to be used to provide a reasonable level of data security, and the amount of the portion of each

payment made that is allocated to data security is known to Defendant.

220.   Protecting data from Plaintiff and the rest of the Class Members is integral to Defendant’s

business. Without Class Members’ data, Defendant would not be able to provide healthcare

services, thus compromising Defendant’s core business.

221.   Plaintiff’s and Class Members’ data has monetary value, and Plaintiff and Class Members

directly and indirectly conferred a monetary benefit on the Defendant. They indirectly conferred

a monetary benefit on Defendant by purchasing goods and/or services from entities that contracted

with Defendant, and from which Defendant received compensation to protect certain data.

Plaintiff and Class Members directly conferred a monetary benefit on Defendant by

supplying Private Information, which has monetary value, from which value Defendant derives its

business value, and which should have been protected with adequate data security.

222.   Defendant knew that Plaintiff and Class Members conferred a benefit which Defendant

accepted. Defendant profited from these transactions and used the Private Information of Plaintiff

and Class Members for business purposes.

223.   Defendant enriched itself by saving the costs it reasonably should have expended on data

security measures to secure Plaintiff’s and Class Members’ Private Information. Instead of

providing a reasonable level of security that would have prevented the Data Breach, Defendant




 Case 3:23-cv-00998        Document 1           47 09/20/23
                                             Filed               Page 47 of 54 PageID #: 47
instead calculated to avoid their data security obligations at the expense of Plaintiff and Class

Members by utilizing cheaper, ineffective security measures. Plaintiff and Class Members, on the

other hand, suffered as a direct and proximate result of Defendant’s failure to provide the requisite

security.

224.   Under the principles of equity and good conscience, Defendant should not be permitted to

retain the money belonging to Plaintiff and Class Members, because Defendant failed to implement

and pay for appropriate data management and security measures that are mandated by industry

standards.

225.   Defendant acquired the monetary benefit and Private Information through inequitable

means in that it failed to disclose the inadequate security practices previously alleged.

226.   If Plaintiff and Class Members knew that Defendant had not secured their Private

Information, they would not have agreed to provide their Private Information to Defendant.

227.   Plaintiff and Class Members have no adequate remedy at law.

228.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class Members have

suffered and will continue to suffer injury, including but not limited to:

                   (i) actual identity theft;

                   (ii) the loss of the opportunity to determine how their Private Information is

                   used;

                   (iii) the compromise, publication, and/or theft of their Private Information;

                   (iv) out-of-pocket expenses associated with the prevention, detection, and

                   recovery from identity theft, and/or unauthorized use of their Private

                   Information;

                   (v) lost opportunity costs associated with effort expended and the loss of




 Case 3:23-cv-00998          Document 1            48 09/20/23
                                                Filed               Page 48 of 54 PageID #: 48
                  productivity addressing and attempting to mitigate the actual and future

                  consequences of the Data Breach, including but not limited to efforts spent

                  researching how to prevent, detect, contest, and recover from identity theft;

                  (vi) the continued exposure risk to their Private Information, which remain in

                  Defendant’s possession and is subject to further unauthorized disclosures so

                  long as Defendant fails to undertake appropriate and adequate measures to

                  protect Private Information in its continued possession;

                  (vii) loss or privacy from the unauthorized access and exfiltration of their

                  Private Information; and

                  (viii) future costs in terms of time, effort, and money that will be expended to

                  prevent, detect, contest, and repair the impact of the Private Information

                  compromised as a result of the Data Breach for the remainder of the lives of

                  Plaintiff and Class Members.

229.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class Members have

suffered and will continue to suffer other forms of injury and/or harm.

230.   Defendant should be compelled to disgorge into a common fund or constructive trust, for

the benefit of Plaintiff and Class Members, proceeds that they unjustly received from them. In the

alternative, Defendant should be compelled to refund the amounts that Plaintiff and Class

Members overpaid for Defendant’s services.

                 FIFTH CAUSE OF ACTION AND CLAIM FOR RELIEF
                                         Bailment
                     (On Behalf of Plaintiff and the Nationwide Class)

231.   Plaintiff re-alleges and incorporates by reference paragraphs 1–171 as if set fully forth

herein.




 Case 3:23-cv-00998        Document 1           49 09/20/23
                                             Filed              Page 49 of 54 PageID #: 49
232.   Plaintiff and Class Members provided Private Information to the Defendant— either

directly or through subsidiary healthcare providers and their business associates—which

Defendant was under a duty to keep private and confidential.

233.   Plaintiff’s and Class Members’ Private Information is personal property, and it was

conveyed to Defendant for the purpose of keeping the information private and confidential.

234.   Plaintiff’s and Class Members’ Private Information has value and is highly prized by

hackers and criminals. Defendant was aware of the risks it took when accepting the Private

Information for safeguarding and assumed the risk voluntarily.

235.   Once Defendant accepted Plaintiff’s and Class Members’ Private Information, it was in the

exclusive possession of that information, and neither Plaintiff nor Class Members could control

that Private Information once it was within the possession, custody, and control of Defendant.

236.   Defendant did not safeguard Plaintiff’s or Class Members’ Private Information when it

failed to adopt and enforce adequate security safeguards to prevent a known risk of a cyberattack.

237.   Defendant’s failure to safeguard Plaintiff’s and Class Members’ Private Information

resulted in that information being accessed or obtained by third-party cybercriminals.

238.   As a result of Defendant’s failure to keep Plaintiff’s and Class Members’ Private

Information secure, Plaintiff and Class Members suffered injury, for which compensation—

including nominal damages and compensatory damages—are appropriate.

                SIXTH CAUSE OF ACTION AND CLAIM FOR RELIEF
                               Breach of Fiduciary Duty
                    (On Behalf of Plaintiff and the Nationwide Class)

239.   Plaintiff re-alleges and incorporates by reference paragraphs 1–171 as if fully set forth

herein.

240.   In light of the special relationship between Defendant and Plaintiff and Class Members,




 Case 3:23-cv-00998        Document 1          50 09/20/23
                                            Filed                Page 50 of 54 PageID #: 50
Defendant became a fiduciary by undertaking a guardianship of the Private Information to act

primarily for Plaintiff and Class Members, (1) for the safeguarding of Plaintiff’s and Class

Members’ Private Information; (2) to timely notify Plaintiff and Class Members of a Data Breach

and disclosure; and (3) to maintain complete and accurate records of what information (and where)

Defendant store.

241.   Defendant had a fiduciary duty to act for the benefit of Plaintiff and Class Members upon

matters within the scope of their relationship with their patients to keep secure their Private

Information.

242.   Defendant breached its fiduciary duty to Plaintiff and Class Members by failing to protect

the integrity of and monitor the activity on the systems containing Plaintiff’s and Class Members’

Private Information.

243.   Defendant breached its fiduciary duty to Plaintiff and Class Members by otherwise failing

to safeguard Plaintiff’s and Class Members’ Private Information.

244.   As a direct and proximate result of Defendant’s breach of its fiduciary duty, Plaintiff and Class

Members have suffered and will continue to suffer injury, including but not limited to:

                       (i) actual identity theft;

                       (ii) the compromise, publication, and/or theft of their Private Information;

                       (iii) out- of-pocket expenses associated with the prevention, detection, and

                       recovery from identity theft and/or unauthorized use of their Private

                       Information;

                       (iv) lost opportunity costs associated with effort expended and the loss of

                       productivity addressing and attempting to mitigate the actual and future

                       consequences of the Data Breach, including but not limited to efforts spent




 Case 3:23-cv-00998          Document 1            51 09/20/23
                                                Filed               Page 51 of 54 PageID #: 51
                       researching how to prevent, detect, contest, and recover from identity theft;

                       (v) the continued exposure risk to their Private Information, which remains

                       in Defendant’s possession and is subject to further unauthorized

                       disclosures so long as Defendant fail to undertake appropriate and adequate

                       measures to protect the Private Information in its continued possession;

                       (vi) future costs in terms of time, effort, and money that will be expended as

                       result of the Data Breach for the remainder of the lives of Plaintiff and Class

                       Members; and

                       (vii) the diminished value of Defendant’s services they received.

245.   As a direct and proximate result of Defendant’s breach of its fiduciary duty, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm, and other

economic and non-economic losses.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment as follows:

        a)      For an Order certifying this action as a Class action and appointing Plaintiff

 Richards as Class Representative and her counsel as Class Counsel;

        b)      For equitable relief enjoining Defendant from engaging in the wrongful conduct

 complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and Class

 Members’ Private Information, and from refusing to issue prompt, complete and accurate

 disclosures to Plaintiff and Class Members;

        c)      For equitable relief compelling Defendant to utilize appropriate methods and

 policies with respect to consumer data collection, storage, and safety, and to disclose with

 specificity the type of Private Information compromised during the Data Breach;




 Case 3:23-cv-00998          Document 1           52 09/20/23
                                               Filed                Page 52 of 54 PageID #: 52
        d)      For equitable relief requiring restitution and disgorgement of the revenues

wrongfully retained as a result of Defendant’s wrongful conduct;

        e)      Ordering Defendant to pay for not less than five years of credit monitoring and

identify theft services for Plaintiff and the Class;

       f)     For an award of actual damages, compensatory damages, statutory damages,

nominal damages, statutory penalties, and other damages the Court deems appropriate, in

an amount to be determined, as allowable by law;

        g)      For an award of punitive damages, as allowable by law;

        h)      Pre- and post-judgment interest on any amounts awarded; and,

        i)      Such other and further relief as this court may deem just and proper.



                                   JURY TRIAL DEMANDED

        Plaintiff demands a trial by jury of any and all issues in this action so triable as of right.


Dated: September 20, 2023                               Respectfully Submitted,

                                                        /s/J. Gerard Stranch, IV
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Case 3:23-cv-00998           Document 1            53 09/20/23
                                                Filed              Page 53 of 54 PageID #: 53
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Case 3:23-cv-00998      Document 1      54 09/20/23
                                        54
                                     Filed            Page 54 of 54 PageID #: 54
